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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                             CASE NO.: 19-22864-Civ-COOKE/GOODMAN

  JUAN COLLINS and JOHN FOWLER,
  on behalf of themselves and all others
  similarly situated,

          Plaintiff,
  v.

  QUINCY BIOSCIENCE, LLC,
  a Wisconsin limited liability company,

          Defendant.
  ______________________________________/

               JOINT EXPEDITED MOTION TO ESTABLISH BRIEFING SCHEDULE ON
                       PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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          Plaintiffs Juan Collins and John Fowler (“Plaintiffs”) and Defendant Quincy
  Bioscience, LLC (“Quincy”) (collectively, the “Parties”) move the Court for an expedited order
  establishing a briefing schedule on Plaintiffs’ Motion for Class Certification, [ECF No. 21], and
  state in support as follows:
          1.    On September 17, 2019, Plaintiffs moved for class certification. ECF No. 21.
          2.    Absent an extension, Quincy’s opposition to the Motion for Class Certification
  is due Tuesday, October 1, 2019, and Plaintiffs’ reply in support is due Tuesday, October 8,
  2019.
          3.    On September 11, 2019, Plaintiff Collins served 25 requests for production, 18
  interrogatories, and 9 requests for admission, for which responses are due on or before
  Friday, October 11, 2019. Plaintiff Collins also noticed a deposition for Quincy’s corporate
  representative(s) for Monday, October 14, 2019. The Parties have not yet served discovery
  responses in this action. Quincy anticipates serving written discovery upon Plaintiffs by
  Friday, September 27, 2019.
          4.    So that the Parties can complete discovery necessary to complete the briefing
  on the Motion for Class Certification, the Parties jointly request that the Court enter an order
  setting forth a briefing schedule as follows:
                a. Quincy shall have until Friday, November 22, 2019 to complete any
                    necessary discovery, including the depositions of Plaintiffs, related to the
                    Motion for Class Certification.
                b. Quincy shall file their opposition to the Motion for Class Certification on or
                    before Friday, December 6, 2019.
                c. Plaintiffs shall have until Friday, January 17, 2020 to complete any
                    necessary discovery to address evidence submitted with Quincy’s
                    opposition to the Motion for Class Certification.
                d. Plaintiffs shall file their reply supporting their Motion for Class
                    Certification on or before Friday, January 31, 2020.
          5.    Pursuant to Local Rule 7.1(a)(3) the Parties certify that they have jointly
  conferred and have agreed to the relief sought in this Motion, for which good cause exists.
  This Motion is made in good faith and not for the purposes of delay.


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         6.     Given the upcoming briefing deadlines, the Parties request that the Court enter
  its Order with respect to the relief requested herein by Friday, September 27, 2019.
         WHEREFORE, the Parties respectfully request that the Court grant this Motion and
  enter an order establishing the briefing schedule set forth in paragraph 4 above, together
  with such other and further relief as the Court deems just, equitable and proper. A proposed
  order accompanies this Motion as Exhibit A for the Court’s consideration.




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         Dated: September 25, 2019            Respectfully submitted,


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                                                  Counsel for Plaintiffs and the Class
   Attorneys for Defendant

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 25, 2019, I electronically filed the foregoing
  with the Clerk of the Court for the United States District Court, Southern District of Florida,
  by using the CM/ECF system, which will serve a copy of this motion on all counsel of record.

                                        By: /s/ Adam M. Moskowitz
                                               Adam M. Moskowitz



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